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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

UNITED STATES OF AMERICA                      §
                                              §
                                              §
VS.                                           §   CRIMINAL NO. H-06-52-6
                                              §
                                              §
ALVARO HERNANDEZ                              §


                                    ORDER

       The defendant, Armando Garza, has filed a motion to strike the presentence

investigation report, to have a new report prepared by a different probation officer, and for

a continuance. The motion for continuance is granted. The motion to strike the presentence

investigation report is denied. The additional time will permit the defendant to submit more

detailed objections that can be addressed in addenda to the report, as appropriate. The

objections are to be filed no later than May 4, 2007. The sentencing hearing is reset for June

8, 2007, at 11:00 a.m.

              SIGNED on April 9, 2007, at Houston, Texas.


                                        ______________________________________
                                                     Lee H. Rosenthal
                                                United States District Judge




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